        CASE 0:20-cr-00113-DSD-BRT Doc. 9 Filed 07/01/20 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
                             Criminal No. 20-mj-480 (DTS)

UNITED STATES OF AMERICA,

                      Plaintiff,                    ORDER

       v.

MOHAMED ABDI,

                      Defendant.


      This matter is before the Court on the government’s motion to unseal the case,

including the complaint. IT IS HEREBY ORDERED that the government’s motion is

granted; and further that the case, including the complaint, is hereby unsealed.



Dated: July 1, 2020                          s/Hildy Bowbeer
                                             Honorable Hildy Bowbeer
                                             United States Magistrate Judge
